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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,                      )
                                               )
               Plaintiff,                      )       ORDER
                                               )
       vs.                                     )
                                               )       Case Nos. 4:13-cr-066-7 and 4:13-cr-082-2
Kealoha Asaga Aulaumea,                        )
                                               )
               Defendant.                      )


       Defendant is being held at the Lake Region Correctional Center (“LRCC”) in Devils Lake,

North Dakota, pending sentencing. The court previously released defendant from custody on two

separate occasions so that she could participate in a residential treatment program. In each instance

she was terminated from the program due to misconduct.

       On June 17, 2014, defendant filed a “Motion for Intermittent Release from Pretrial

Detention.” She advises that the Lake Region Human Service Center (“LRHSC”) in Devils Lake,

North Dakota, will permit her to return to its facility on a day-treatment basis. She asks that she be

allowed leave the LRCC daily so that she can attend a day treatment program at LRHSC. The

program’s hours are as follow: Mondays through Thursdays from 9:00 a.m. - 12:00 p.m. and from

1:00 p.m. - 3:00 p.m.; and Fridays from 9:00 a.m. - 12:00 p.m.       The LRHSC is within walking

distance from the LRCC. The Government has no objection to defendant’s motion and the LRCC’s

administrator has advised that the LRCC can accommodate this proposed arrangement.

       Accordingly, the court GRANTS defendant’s motion (Case No. 4:13-cr-066, Doc. No. 610,

Case No. 4:13-cr-082, Doc. No. 101). Defendant’s pretrial detention conditions shall be modified

as follows. Upon commencement of treatment, Defendant shall be permitted to leave the LRCC no

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earlier than 8:30 a.m to attend day the LRHSC’s day treatment program. Defendant shall return to

the LRCC at the conclusion of her morning treatment session with understand that she shall be

permitted to again leave the LRCC on Mondays through Thursdays to attend afternoon treatment

sessions at the LRHSC. Once defendant has completed her afternoon treatment sessions, she shall

immediately return to the LRCC. Defendant shall sign any necessary releases so that the Pretrial

Services Officer can monitor her progress in the treatment program.

       Dated this 24th day of June, 2014.

                                                   /s/ Charles S. Miller, Jr.
                                                   Charles S. Miller, Jr., Magistrate Judge
                                                   United States District Court




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